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United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known) Chapter 11

0 Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (If
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, \s available.

1. Debtor's name Tex-Gas Holdings, LLC

2. All other names debtor
used In the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
1045 E. McKellips Road
Mesa, AZ 85203
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Maricopa Location of principal assets, if different from principal
County place of business

FM 3057 Bay City, TX 77414

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

6. Type of debtor ll Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
0 Partnership (excluding LLP)
O Other. Specify:

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Debtor

Tex-Gas Holdings, LLC

Case number (if known)

Name

7. Describe debtor's business A. Check one:

O Health Care Business (as defined in 11 U.S.C. § 101(27A))
CJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ Railroad (as defined in 11 U.S.C. § 101(44))

0 Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

D Clearing Bank (as defined in 11 U.S.C. § 781(3))

H None of the above

B. Check all that apply
0 Tax-exempt entity (as described in 26 U.S.C. §501)

0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

CO Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.

See http://www.uscourts.gov/four-digit-national-association-naics-codes.

Under whlch chapter of the
Bankruptcy Code Is the
debtor filing?

A debtor who is a “small
business debtor” must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is a

Check one:
DO Chapter 7
O Chapter 9

Wi Chapter 11. Check all that apply:

01 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncentingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not

exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

“small business debtor’) must
check the second sub-box.

O Chapter 12

oa

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents co not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Aplan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

9. Were prior bankruptcy

No.

cases filed by or against O ves.

the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

District

District

When Case number

When Case number

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Debtor Tex-Gas Holdings, LLC

Case number (if known)

Name

10. Are any bankruptcy cases

pending or being filed by a

business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

No

0 Yes.

Debtor Relationship

District When Case number, if known

11. Why is the case filed in
this district?

Check ail that apply:

™ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

DO Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immedlate attention?

No
O yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 It needs to be physically secured or protected from the weather.

7 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

DO Other

Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?
DO No

OYes. Insurance agency

Contact name

Phone

a Statistical and administratlve Information

13. Debtor's estimation of
available funds

Check one:
@ Funds will be available for distribution to unsecured creditors.

DC After any administrative expenses are paid, no funds will be available to unsecured creditors.

14, Estimated number of 1-49 0 1,000-5,000 1 25,001-50,000
creditors 0 50-99 D 5001-10,000 D1 50,001-100,000

C1 100-199 D1 10,001-25,000 1 More than100,000
C) 200-999

15. Estimated Assets D $0 - $50,000 B $1,000,001 - $10 million 0 $500,000,001 - $4 billion
CO $50,001 - $100,000 D1 $10,000,001 - $50 million 1 $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 C1 $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
D $500,001 - $1 million OD $100,000,001 - $500 million DO More than $50 billion

16. Estimated Ilabillties D $0 - $50,000 Hl $1,000,001 - $10 million D1 $500,000,001 - $1 billion

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Debtor Tex-Gas Holdings, LLC Case number (if known)
Name
0 $50,001 - $100,000 D $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
DZ $100,001 - $500,000 D $50,000,001 - $100 million 1 $10,000,000,001 - $50 billion
DF $500,001 - $1 million 0) $100,000,001 - $500 million CD More than $50 billion

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Debtor Tex-Gas Holdings, LLC Case number (if known)
Name

| Si Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on {) (7 LL LOL |
MM DD/
a i

xX  — a D. Elroy Fimrite
ee wiles representative of debtor Printed name
Title PregSident _
pf
18. Signature of attorney x v4 | Date Ss > | - BO
Signature I. a for debtor MM/DDIYYYY
T. Josh Judd
Printed “ \
Andrews Myers*P.c.
Firm name

1885 Saint James Place, 15th Floor
Houston, TX 77056

Number, Street, City, State & ZIP Code

Contact phone 713-850-4200 Emailaddress jjudd@andrewsmyers.com

24036866 TX
Bar number and State

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WRITTEN CONSENT AND RESOLUTIONS OF THE SOLE MEMBER OF TEX-GAS
HOLDINGS LLC

The undersigned, being the Sole Member of Tex-Gas Holdings LLC, a Delaware limited
liability company (the "Company"), and pursuant to the provisions of the Delaware statutes, hereby
consents to the adoption of the Company of the following resolutions and to the action authorized
in such resolutions being taken by the Company in lieu of a meeting thereof:

RESOLVED, that the Company should reorganize by filing for bankruptcy protection
under Chapter 11 of the Bankruptcy Code with an appropriate federal bankruptcy court sitting in
Harris or Matagorda County, Texas;

RESOLVED, that D. Elroy Fimrite, as the sole Director of EF Global Corporation, which
is the Sole Member of the Company, is hereby authorized and directed to prepare or cause to be
prepared the voluntary petition and to cause the initiation and prosecution of a case under the
Bankruptcy Code (the "Bankruptcy Case");

RESOLVED, that D. Elroy Fimrite is authorized to prepare or cause to be prepared all
other documents, pleadings and other instruments necessary to prosecute the Bankruptcy Case;

RESOLVED, that the Company is authorized and directed to employ and retain the firm
of Andrews Myers, P.C., Attorneys at Law, to represent the Company in its case under the
Bankruptcy Code upon such retainer and compensation agreement as may seem in the sole
discretion of the Sole Member to be appropriate;

RESOLVED, that any and all actions taken by D. Elroy Fimrite for the Company, and for
and on behalf and in the name of this Company, prior to the adoption of the foregoing resolutions,
in connection with any of the foregoing matters, be and they are hereby, ratified, confirmed and
approved in all respects for all purposes; and

RESOLVED, that D. Elroy Fimrite, as the President and Director of the Company (and his
designees and delegates) be, and hereby is, authorized, empowered, and directed to take all actions,
or to not take any action in the name of the Company, with respect to the transactions contemplated
by these resolutions hereunder, as the President and Director shall deem necessary or desirable in
such officer’s reasonable business judgment, as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein.

SIGNATURE PAGE TO FOLLOW

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Date: </2 ? [202

TEX-GAS HOLDINGS LLC

D‘Elrey Fimrite, President and Authorized Person of
EF Global Corporation, its Sole Member

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